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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK
_____________________________________________

CAREY SMITH,
                                                        AMENDED
                                 Plaintiff,          SCHEDULING ORDER

                   vs.                               18-CV-6658-DGL-MJP

NEW YORK STATE, CORRECTIONS
OFFICER KYLE KENNEDY in his individual
capacity, CORRECTIONS OFFICER JOHN
CRANCE in his individual capacity, et al.,

                              Defendants.
_____________________________________________

      Counsel for both parties have filed a letter motion (ECF No. 52) dated

April 15, 2021, requesting an extension of time of certain deadlines contained in the

Court’s previously issued scheduling order, it is hereby

      ORDERED

      1. The deadline to join other parties and amend pleadings has passed.

      2. All factual discovery in this case shall be completed on or before January

         18, 2022. All motions to compel discovery shall be filed by December 17,

         2021.

      3. Plaintiffs shall identify any expert witnesses and provide reports

         pursuant to Fed. R. Civ. P. 26 by February 16, 2022. Defendants shall

         identify any expert witnesses and provide reports pursuant to Fed. R. Civ.

         P. 26 by March 16, 2022. All parties shall complete all discovery relating

         to experts, including depositions, by May 16, 2022.
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4. Dispositive motions, if any, shall be filed no later than August 20, 2022.

   Unless a consent to proceed before this Court is filed, such motions shall

   be made returnable before Judge Larimer. Responding papers shall be

   filed no later than September 22, 2022. Reply papers shall be filed no

   later than October 6, 2022.

5. An in-person status conference will be held with the Court at 2310 U.S.

   Courthouse, Rochester, New York on February 8, 2022, at 9:30 a.m.

   Plaintiff is required to attend this conference and if she unable to do so,

   Plaintiff’s counsel is directed to inform the Court in a timely fashion and

   to provide several dates and times on which Plaintiff would be able to

   attend such conference.

6. A trial date status conference pursuant to Fed. R. Civ. P. Rule 16(e) and

   Local Rule 16 will be held, if necessary, at a date and time to be

   determined by the trial judge after determination of dispositive motions.

   If no dispositive motions are filed, counsel shall immediately contact the

   trial judge so that a trial date status conference can be scheduled.

   At least seven (7) days prior to the trial date status conference, the parties

   shall file a joint case status report setting forth the information described

   below. If the parties disagree as to the information to be provided, the

   report must set forth their different responses. The joint status report

   shall contain:




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      a. Nature of the Case: Set forth a brief description of the action,

         identifying the parties, all counsel of record, the relief requested,

         any affirmative defenses and any relationship the case may have to

         other pending actions.

      b. Motion Practice: Are any motions, dispositive or non-dispositive,

         pending? If so, briefly describe the motion. Explain if additional

         motion practice is necessary before the matter is ready to be tried.

      c. Settlement: Describe the status of settlement negotiations. If the

         parties believe a court supervised settlement/mediation conference

         would be of assistance in resolving the case or narrowing disputed

         issues, please state.

      d. Trial: State whether the case is ready for trial. If not, explain why.

         Set forth an estimate of how long the trial will take and whether

         the case is jury or non-jury.

7. Requests to extend the above cut-off dates may be granted upon written

   application, made prior to the cutoff date, and showing good cause for the

   extension. Application for extensions should be made to the Magistrate

   Judge. Joint or unopposed requests to extend the deadlines set forth in

   this order need not be made by formal motion, but rather may be sought

   in a letter to the court. Letter requests must detail good cause for the

   extension and propose new deadlines.




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    8. The Court requires that should any discovery dispute arise between the

         parties that a letter be sent to the Court detailing the dispute prior to any

         motion practice.

SO ORDERED.

DATED:      April 15, 2021
            Rochester, New York
                                             /s/ Mark W. Pedersen
                                              MARK W. PEDERSEN
                                              United States Magistrate Judge




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